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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-24227-CIV-ALTONAGA/Goodman

  JASON MILLER,

          Plaintiff,
  v.

  GIZMODO MEDIA GROUP,
  LLC, et al.,

        Defendants.
  ___________________________/

                                            ORDER

          THIS CAUSE came before the Court on Plaintiff’s Motion to Compel Non-Party Arlene

  Delgado to Produce Documents in Response to Subpoena Duces Tecum [ECF No. 63]. Being

  fully advised, it is

          ORDERED AND ADJUDGED that the Motion is DENIED. The parties are instructed

  to follow the procedures regarding discovery outlined in the Court’s Order Setting Trial [ECF

  No. 19].

          DONE AND ORDERED in Miami, Florida, this 17th day of January, 2019.




                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
